7 sn att MA tr

G 1aqep sotjou
4Q UOTRJEOTFTIAGO Sy JO se pr098z Jo srapToy fo zequnu sjeutxorzddy

[ ] (4) (1) (a) e-uzr etnyg

[x] 9-DST STny {L ] (FF) (Z) (8) 7-521 etny
{[ ] (TT) (2) (qQ)e-uzt etna [ ] (¥) (@) (®) p-8zT etnyg
[ ] (4) (2) (q)e-uzt etny { ] (FT) (1) (2) 7-627 etna
[ ] (FT) (1) (a) e-a2T eToE [ ] (4) (1) (e) 9-5zT etoe

?s320der1 aTTy 03 Aqnp syj pusdsns zo ejeutwzeqy oj uodn petteaz (s) uotstaozd
eatna eqjetadorzdde sy y sjzeubtsep oj (se)xoq ey ut x ue soeTd aseatg

(suTeuez(p)g{T azo (e)eT uotjoes azepun sqaodea sty
03 Ajnp & YOTYM AOZ setAtTanoss Jo sasseTo zsyq0 TTe Fo satity)

L-p00% SeTzaeg ‘Se]eOTFTIASD peyoeg—Jessy
‘L-POO7 4SNAL SORBOTITIISED peyoeg-qessy ‘‘our ‘s@yMO

(SSO0TJJO SAT INOeXS Tedtoutad s,juerzystbez Jo ‘spon earze
Butpntout ‘azequnu suoydetey pue ‘spoo dtz Sutpntout ‘sseappy)
OO0E-GZZ (818) ZOETE BTuTOTTTeD ‘seseqeted
epeueszd ATVI OOGHF

(zeqQazeyo SqtT ut petgtoeds se jueaqstbea Jo eweu 4oexg”)

PE-ZLZGOT-ECE ASQUNN STTY vVOTSsTuMo)

“PEG JO LOW SONVHOXA SHILIUNOAS AHL JO (G)ST GNY €L SNOITLOSS AHAaNNn
SLHOddu ATIA OL ALNA FO NOISNHdSNS WO Peet JO LOW SDNWHOXA SAILIANOS FHL
40 (5) @T NOILOES AHAINN NOILVALSTISSY 40 NOILYNIWSGL dO ZOILON ANY NOTLYOTAILAO

ST WdOd
6PSGOZ “O°'q ‘uoQSutTysem

NOISSIWWOD HZONWHOXE ANY SAILIYNOgS
SHiIVLS GaLINN
DMM ora a erminnnte atest steep orm

<DXaG1L>

XI" PSTSTWIOTPEPOSISG Té610-Gose<aWYNUITa>

cOETE

YO

SYSVEVTYD

VOWNVYD MYVd OOSP

868F-SzZz (8Ts8)
ZOETE

WO

SYSVEVTVD

VOWNVYD WaWd OOGP

*dIZ
*aLVLsS
*ALIO

*T LaaaLs

T<BONgNOgS>
aGT-ST<adAL>
<INSWNDOd>
<WRqvaH-DgS/>

*SSadqqy TIYNW

*GNOHd SSHNISNE
*d1iZ

*HLVLS

*ALIO

*T LEAaLs

*SSaudqy SSaNrsnd

OVeESSSO ‘MEEWON WIIG
VC-ZLEGOI-EEE “USEGWON BIIA O9S
3°W Peet *LOW 08S
QST-ST ‘adAL WHOZ
‘SHNTVWA ONTITIA
8¢c0 QNG YVEA TYOSIA
ad *NOILWYOdYOONI JO BLVLS
000000000 ‘MSEWAN SUT
[6st9]
SAILIWNDaS AaNOVE-LaSsy *NOLTLWOIAISSVIO IVIULSNGNI GYHvaNnwis
8P9IPOETOOO ‘AGM XSQNI ‘TVMINGD
£-P00@ SHINES SELYOIAILYsO
CaMoVG LASSWY ONI SayMo *SNUN CEWYOANOD ANWANOD
*WLWI ANWdWOD
*MaATIA
Letosoog *HLYGO SSHYNSALLISIag
LetTosood *HONWHD FO SW AVG
LETOSO0? *aLvd JO SW adalia
t *ENQOO LNEWAD0d DITEnd
GSt=ST *GdAL NOISSIWGNS AHWHOANOD

8P9000-S0-8F7TS060000

‘aHEWON NOISSADOY
GEESOTLTTOSOOC<EWILELWO-YFONVLdaOOW>

LeTOSsood : Tw&s * 7DY* 8h9000-S0-8 F1S060000<NsaVaH-DaS>
LéTOS00c + 3*%3°879000-S0-8F19060000<LNENNDOG—-oaS>

==OX 9S FUGHOQUTUDQXYLISET
ETVU+NZ TIWWOAE S19 UTUNZ LAW /XDITOAGIGENOMKOOUUZN ZZANTBAOHTSUe0T COAS
‘WSa‘SCW-VWSU i OFUI-DIW
GVOWCIMNI+8+ 112 LWNXZepl EqGMeogdemasshmuo tea AuqqviztA/WSMI
UONTLPEAZWXEMAMT COe9 TUZ AZ AIAG MHNS TMVCMUMYOS 8 IVOIOVEDOATABD OMB AW
PoTaqewudAsy—Asy—r0 .euTSTI9
A05*DaS" MMM) OAS euqem > SUBN-JOJPUTHTIAO

YWATO-OIW‘TOOZ :edAz-s02g

CaaS ADVSSAWN GAONVHNE-AQWVAING NIDHq-----
Pome tomncmoneonmaucen a ewe noire,

ees HOVSSEN GAONVHNA-AOWATHd CGNaA-----
<ZLNSNNOOd-OaS />

<.LNAWNDOd />
<LXGL/>
é
JueptTseig SOTA
STetTueq uosyT
sjTetueq uoeyT /s/ aq Goog ‘42 Azenuecg Sa.LVa

‘uosazsed peztzoyine Atnp peubtszepun sur
Aq JT eyeq SqT uo peubts sq of soTRZOU/UOTIeOTsJTIAe9 STY pasneo sey ‘OUT “SAYMO
‘VE6T FO JOY SHueyoxy setqtanoes eyj jo squeweztnbaz syq oq queNnsaing

<doed>
